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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


National Association for the Advancement of
Colored People,

Plaintiff,

                                                                     Case No. 20-cv-2295
v.


United States Postal Service, et al.,

Defendants


                                   DEFENDANTS’ RESPONSE TO
                             THIS COURT’S NOVEMBER 3, 2020 ORDER

         Defendants respectfully provide the following response to this Court’s November 3, 2020

Order.

         Defendants have been working to comply with this Court’s Order, which requires a

“sweep” of postal facilities within several specified districts, while recognizing the limitations

caused by time and the Postal Service’s pre-existing Postal Inspection processes. As of the time

of this filing, that process remains ongoing.

         As an initial note, pursuant to this Court’s previous orders, “all clears” and successful

certifications were conducted at all processing plants this morning by 10 a.m. local time, indicating

that ballots were accounted for properly.        Furthermore, as previously reported, U.S. Postal

Inspectors have been present and observing operations and the security of election mail at all

processing facilities that process ballots (i.e., those with processing operations for flats and letters)

on a daily basis since October 29, 2020. The Inspection Service is conducting daily reviews of

220 facilities handling election mail, including discussing conditions with facility managers.
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Inspectors are instructed to walk the facility and observe the conditions of mail and consider a

specific list of items. These include reviewing Election and Political Mail logs for accuracy and

completeness, reviewing staging areas for Election and Political Mail and areas outside the staging

area for Election and Political Mail, scanning for delayed mail, ensuring Election Mail is processed

expeditiously, and ensuring no ballots can be held for postage due.

        Facility sweeps, however, of the type that occurred this morning are not undertaken by

Inspectors personally, but are rather operational responsibilities, undertaken by multiple plant

support personnel. There are only one or two Inspectors in any one facility, and thus they do not

have the ability to personally scour the entire facility. Indeed, doing so would be impractical

(given the size of that facility) and would take them away from their other pressing Election Mail-

related responsibilities, as detailed above.

        This daily review process, however, occurs at different times every day, which Defendants’

Counsel did not learn until recently, and after this morning’s hearing, when these issues were raised

for the first time by Plaintiffs’ counsel. Specifically, on Election Night, it is scheduled to occur

from 4pm to 8pm, a time period developed by Postal Service Management and the Postal

Inspection Service in order to ensure that Inspectors are on site to ensure compliance at the critical

period before the polls close. Given the time constraints set by this Court’s order, and the fact that

Postal Inspectors operate on a nationwide basis, Defendants were unable to accelerate the daily

review process to run from 12:30pm to 3:00pm without significantly disrupting preexisting

activities on the day of the Election, something which Defendants did not understand the Court to

invite or require.

        Moreover, Inspectors do not themselves resolve identified deficiencies, but rather discuss

those deficiencies they do identify with facility managers for those managers to resolve as



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expeditiously as possible. The Inspectors can thus only certify that any deficiencies—which could

include Election Mail in staging and non-staging areas—have been identified and referred.

       As mentioned above, that process is now ongoing, and has been since 4pm local time.

Defendants are thus able to certify the following at this time:

       The Postal Inspection Service is or shortly will be conducting observations of 220
       facilities for potential incidents involving Election Mail, to include reviewing
       staging and non-staging areas for ballots. These include processing facilities in the
       Central Pennsylvania, Philadelphia, Detroit, Colorado/Wyoming, Atlanta,
       Houston, Alabama, Northern New England, Greater South Carolina, South Florida,
       Lakeland, and Arizona Districts. Any identified deficiencies will be reported to
       facility management for resolution.

       Inspectors will be in the identified Postal facilities throughout the evening. Defendants are

working as expeditiously as possible to comply with this Court’s orders while recognizing physical

and operational limitations and the need to avoid disrupting key activities on Election Day.

       Separately, Defendants also identify the 27 facilities at which OIG personnel are on site:

                Facility Name                         Area                    District
              PHOENIX AZ P&DC                       WESTERN                  ARIZONA
           JACKSONVILLE FL P&DC                    SOUTHERN               GULF ATLANTIC
               MIAMI FL P&DC                       SOUTHERN              SOUTH FLORIDA
             ORLANDO FL P&DC                       SOUTHERN                 SUNCOAST
               TAMPA FL P&DC                       SOUTHERN                 SUNCOAST
        WEST PALM BEACH FL P&DC                    SOUTHERN              SOUTH FLORIDA
             ATLANTA GA P&DC                     CAPITAL METRO               ATLANTA
             AUGUSTA GA P&DC                       SOUTHERN               GULF ATLANTIC
          NORTH METRO GA P&DC                    CAPITAL METRO               ATLANTA
            DES MOINES IA P&DC                      WESTERN                 HAWKEYE
              DETROIT MI P&DC                     GREAT LAKES                DETROIT
          GRAND RAPIDS MI P&DC                    GREAT LAKES           GREATER MICHIGAN
       MICHIGAN METROPLEX MI P&DC                 GREAT LAKES                DETROIT
             DULUTH MN P&DC                         WESTERN                NORTHLAND
          MINNEAPOLIS MN P&DC                       WESTERN                NORTHLAND
            SAINT PAUL MN P&DC                      WESTERN                NORTHLAND
            CHARLOTTE NC P&DC                    CAPITAL METRO           MID-CAROLINAS
          GREENSBORO NC P&DC                     CAPITAL METRO             GREENSBORO


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            RALEIGH NC P&DC         CAPITAL METRO            GREENSBORO
          CLEVELAND OH P&DC            EASTERN              NORTHERN OHIO
          COLUMBUS OH P&DC             EASTERN               OHIO VALLEY
          HARRISBURG PA P&DC           EASTERN          CENTRAL PENNSYLVANIA
         PHILADELPHIA PA P&DC          EASTERN        PHILADELPHIA METROPOLITAN
          PITTSBURGH PA P&DC           EASTERN          WESTERN PENNSYLVANIA
           GREEN BAY WI P&DC         GREAT LAKES               LAKELAND
           MADISON WI P&DC           GREAT LAKES               LAKELAND
          MILWAUKEE WI P&DC          GREAT LAKES               LAKELAND

Dated: November 3, 2020                  Respectfully submitted,

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                                         /s/ Joseph E. Borson
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